           Case 2:12-cr-00062-RSL        Document 1400       Filed 08/11/15    Page 1 of 2




 1                                                                     The Honorable Judge Lasnik
 2
 3
 4
 5
 6
                          UNITED STATES DISTRICT COURT FOR THE
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
 9
     UNITED STATES OF AMERICA,
10                                                    CASE NO. CR12-62RSL
11                               Plaintiff,           ORDER
12                        v.
13
14 RAUL ANCHONDO,
15
                                 Defendant.
16
17          THIS MATTER comes before the Court on Defendant’s pro se motion seeking a
18 reduction in sentence.
19          In order to be eligible for a retroactive reduction, Defendant must have been
20 sentenced to a term of imprisonment based on a sentencing range that has been lowered by a
21 retroactively applicable Guidelines amendment. United States v. Waters, 771 F.3d 679, 680
22 (9th Cir. 2014) (per curiam). Unless all criteria are met, a district court lacks jurisdiction to
23 reduce the defendant’s sentence because courts do not have inherent authority to alter a
24 sentence once imposed. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).
25          On May 16, 2013, Defendant Raul Anchondo was found guilty by a jury of
26 Conspiracy to Distribute Heroin and/or Methamphetamine, Conspiracy to Possess Firearms
27 in Furtherance of a Drug Trafficking Crime, and Possession of Firearms in Furtherance of a
28 Drug Trafficking Offense, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, and


     ORDER
     CR12-62RSL- 1
           Case 2:12-cr-00062-RSL      Document 1400       Filed 08/11/15    Page 2 of 2




 1 18 U.S.C. § 924(o), and 18 U.S.C. § 924(c) (1)(A). The jury specifically found that
 2 Defendant conspired to distribute one kilogram or more of heroin, and 500 grams or more of
 3 a methamphetamine mixture, and 50 grams or more of pure methamphetamine. Dkt. 954
 4 (Verdict). These drug quantities trigger a mandatory minimum sentence on the drug count of
 5 120 months’ imprisonment. 21 U.S.C. § 841(b)(1)(A).
 6          In calculating his applicable Guidelines range, Defendant was held responsible for a
 7 large quantity of drugs that were stored at his organization’s stash house (the PSR, ¶ 45,
 8 states it was “in excess of 20 pounds of heroin, in excess of 30 pounds of
 9 methamphetamine”), which yielded a Base Offense Level of 38. See PSR at ¶ 52. Based on
10 this quantity of drugs, and adding the two levels for the importation of methamphetamine
11 from Mexico, Defendant’s Total Offense Level was 40. See PSR ¶¶ 52-60. Defendant’s
12 criminal history category was IV, resulting in a sentencing range of 360 months to Life for
13 the drug offense, plus the mandatory 60 months consecutive for the § 924(c) offense.
14 See Statement of Reasons Form, filed under seal. See 18 U.S.C. §924(c)(1)(A).
15          At sentencing on November 21, 2013, the Court departed below this range and
16 imposed a term of 180 months’ imprisonment for all counts (120 months + 60 months,
17 consecutive) and noted that the mandatory minimum sentence was imposed. See Statement
18 of reasons, filed under seal. Accordingly, Defendant is ineligible for a reduction in sentence
19 because his sentence was a mandatory minimum sentence, and not a sentence based on the
20 Sentencing Guidelines that was lowered by a retroactively applicable amendment to the
21 Guidelines. As such, notwithstanding Defendant’s laudable efforts toward education and
22 improvement while in custody, this Court lacks jurisdiction to reduce Defendant’s sentence.
23          Defendant’s motion to correct or reduce sentence, Dkt. 1391, is DENIED.
24                   Dated: August 11, 2015.
25
26                                                 A
                                                   Robert S. Lasnik
27
                                                   United States District Judge
28


     ORDER
     CR12-62RSL- 2
